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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF LOUISIANA

IN RE: AMY P. FERGUSON CASE NO: 18-10485

DEBTOR(S) CHAPTER 7 CASE

NOTICE OF AMENDMENT
NOTICE IS HEREBY GIVEN that Amy P. Ferguson, debtor herein, has filed the attached

voluntary amendment to Schedule A/B-Property, Schedule C-Property You Claimed As Exempt,
Schedule D-Creditors Who Have Claims Secured By Property, Schedule E/F-Creditors Who Have
Unsecured Claims and the Summary of Assets & Liabilities

Respectfully submitted:

James M. Herpin

200 Government Street, Ste. 200

Baton Rouge, LA 70802
Telephone: (225

 
  
 

 

 

forney for Debtors
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TORU SMe corn to identify your case:

 

 

 

Debtor 1 Amy P Ferguson _ |
i First Name ~ Middle Name Last Name |
| Debtor 2

 

| (Spouse if, filing) “First Name Middle Name Last Name
|

| United States Bankruptcy Court forthe: | MIDDLE DISTRICT OF LOUISIANA

 

‘Case number 18-10485
| (if known) Hi Check if this is an
amended filing

 

Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical Information 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

 

information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file

your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

 

Your assets

Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)

 

1a. Copy line 55, Total real estate, from Schedule A/B............ cece cee ceceeeeeeeeeeeseeetsecneeeneeeeeseeenesceetecieeereseseneeeneeena $ __ ___1,604,000.00°
1b: Copy line 62; Total personal property, from Schedule A/B..s..cisisssesseessesseasnmeresesnrennecnacseerevasenauireeriese cous $ 357,436.42,
1c. Copy line 63, Total of all property on Schedule A/B........... ccc cccceeceecceeceeeeceeeesseeceeeeseeeeecectesteesesesneeenestiestenseenes $s: 1,961,436.42

Ge summarize Your Liabilities

 

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 972,962.51
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F..........0 cece $ ___ 203,353.56
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule E/F...........:ec $ 266,856.63 |
Your total liabilities | $ 1,443,172.70

Summarize Your Income and Expenses

4. Schedule |: Your Income (Official Form 1061)

|
a

Copy your combined monthly income from line 12 of Schedule I.............cecessescesneceeceseseececeecsecessesseseeeseeessersesessenes $ 11,150.60

5. Schedule J: Your Expenses (Official Form 106J)

Copy your monthly expenses from line 22c Of SCHECUIC J... ce cccececcte tices eteeeeseeecneceteeteeesstatisiecsecastseeeanes $ 9,496.81

(EEE Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
O_ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

MH Yes
7. What kind of debt do you have?

@ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

 

(] Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to

the court with your other schedules.
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

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Debtor! Amy P Ferguson Case number (if known) 18-10485

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 18,200.00

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

 

 

9a. Domestic support obligations (Copy line 6a.) $_ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 203,353.56
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
9d. Student loans. (Copy line 6f.) $ 27,064.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as
priority claims. (Copy line 6g.) $ 8,00
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00
9g. Total. Add lines 9a through 9f. $ 230,417.56
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

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BARGE Teen to, identify. your case and this filing:

 

 

' nt

| Debtor 1 Amy P Ferguson

First Name Middle Name Last Name
| Debtor 2

| {Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: MIDDLE DISTRICT OF LOUISIANA

 

| Case number 18-10485

M Check if this is an
amended filing

 

Official Form 106A/B
Schedule A/B: Property 12115

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

D1 No. Go to Part 2.
HB ves. where is the property?

14 What Is the property? Check all that apply
380 Glover Cemetery Road

 

 

 

 

 

 

HE Single-family home Do not deduct secured claims or exemptions. Put
Street address, if available, or other description ‘unit build the amount of any secured claims on Schedule D:
oO Duplex or multi-unit building Creditors Who Have Claims Secured by Property.
oO Condominium or cooperative
(1 Manufactured or mobile home
. Land Current value of the Current value of the
Pine Grove LA 70453-0000 m tan entire property? portion you own?
City State ZIP Code C1 Investment property $1,080,000.00 $1,080,000.00
Oo one Describe the nature of your ownership interest
o ero Cs (Sch as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one 2 life estate), if known.
Debtor 4 only
Saint Helena O debtor 2 only
County
O) ebtor 1 and Debtor 2 only Check if this is community property
1 Atleast one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
Property transferred to Ex-husband in community property settlement
Terms of agreement seem to express some residual rights to value in the
event of failure of terms of agreement; Debtor required to pay mortgage
by community property settlement
Last appraised value $1,080,000-2013 (Three separate tracts)
Official Form 106A/B Schedule A/B: Property page 1

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Debtor1 Amy P Ferguson

Case number (ifknown) 18-10485

 

If you own or have more than one, list here:

1.2
34287 Hwy 16

 

Street address, if available, or other description

Denham Springs LA

70706-0000

 

City State ZIP Code

What is the property? Check all that apply

BH Single-family home Do not deduct secured claims or exemptions. Put

the amount of any secured claims on Schedule D:

 

iti-unit buildi

Oo ae or mu unit sean Creditors Who Have Claims Secured by Property.

Im or cooperative :
oO ondominiu
(J Manufactured or mobile home

Land Current value of the Current value of the

m fan : entire property? portion you own?
C1 Investment property $524,000.00 $524,000.00
L) Timeshare Describe the nature of your ownership interest
Ol other CCC puch as fee simple, tenancy by the entireties, or

a life estate), if known.

Who has an interest in the property? Check one
@ Debtor 1 only

 

Livingston C1 pebtor 2 only
County debtor 1 and Debtor 2 only
C1 Atteast one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

Check if this is community property

(see instructions)

Dental Practice building ;Tax assessed value-land $19,300; structure

$193,000 ((appraised for $350k/ 2013)
Plus 1.52 acres tract (appraised for $174k in 2013)

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that number here. =>

Describe Your Vehicles

 

 

 

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles you own that

someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

ONo
ves

31 Make: Volvo Who has an interest in the property? Check one

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims.on Schedule.D:

 

 

 

 

 

 

 

Modet: XC90 i Debtor 4 only Creditors Who Have Claims Secured by Property.
Yer, 2016  =————C—Cs‘«C0. Debtor 2 ony Current value of the Current value of the
Approximate mileage: 45000 O Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: DO At least one of the debtors and another
O check if this is community property $38,000.00 $38,000.00
(see instructions)
4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories

Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

HI No

0D Yes

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for 38,000.00
pages you have attached for Part 2. Write that number here...............ccscssesscerssseeee => $38, :

Describe Your Personal and Household Items
Do'you own or have any legal or equitable interest in.any of the following items?

Official Form 106A/B
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Schedule A/B: Property

 

 

 

Current value of the

portion you own?

Do not deduct'secured

claims or exemptions.
page 2

Best Case Bankruptcy
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Debtor! Amy P Ferguson Case number (if known) 18-10485

68. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

C1 No
I Yes. Describe...

 

Small appliances, pots, pans, dishes, table & chairs, hutch/cabinet,

 

 

 

 

 

 

 

 

linens $1,350.00
| Sofa, two chairs, coffee table, table lamp, rugs | $1,430.00
| Bedroom set; two dressers; two night stands | $300.00

 

 

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices

including cell phones, cameras, media players, games

0 No
@ Yes. Describe.....

 

| Cell phone $100; computer $500; Vacuum cleaner $200 $800.00

 

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;

other collections, memorabilia, collectibles
HE No

C Yes. Describe...

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycies, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;

musical instruments

 

 

 

 

 

 

© No
EE Yes. Describe.....
Bicycle $100; outdoor furniture $50; luggage $50; misc.
pictures/artwork $400; exercise equipment $600 $1,200.00
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
HENo
O Yes. Describe...
11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
ONo
I Yes. Describe.....
[Clothing | $1,000.00

 

 

12. Jewelry
Examples: Everyday jewelry, costume jeweiry, engagement rings, wedding rings, heirloom jewelry, watches, gems, goid, silver

O No
Hl Yes. Describe.....

 

Pr. earrings paid $1,500 for one insured for $5,900.00-
automatically increases in coverage annually
Pr earrings paid $2000 insured for $14,750-automatically increases

in coverage annually $6,900.00

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 3
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Debtor 1 Amy P Ferguson Case number (ifknown) 18-10485

 

 

| Misc. costume jewelry (flooded/but have) $0.00

 

 

Rings $1,000 (mother's) missing center stone -$200.00 (not
| insured)
| Ring from kids- father purchased for $1000 at Macy's-$200 $400.00

 

 

13. Non-farm animals
Examples: Dogs, cats, birds, horses

ONo
Ml Yes. Describe.....

 

i Three dogs | Unknown

 

14. Any other personal and household items you did not already list, including any health aids you did not list
HNo
Ci Yes. Give specific information...

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here $13,380.00

 

 

 

 

Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

 

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

Hi No

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, list each.

ves Institution name:

First Guaranty Bank (2009)-opened 03/2018
(personal) ($1031.36)
17.1. Checking (2009) Hancock/Whitney closed -#1234 03/2018 $1,031.36

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

Hi No
DD YeS....ececcceceee Institution or issuer name:
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

OO No

BB Yes. Give specific information about them...................
Name of entity: % of ownership:

Amy P. Ferguson, DDS, L.L.C. (2002-Present)
Name previously changed from Amy Ferguson
Lawrence A Professional Dental Corporation __ % $0.00

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
Official Form 106A/B Schedule A/B: Property page 4

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Oebtor 1 _Amy P Ferguson Case number (ifknown) 18-10485
No
(C Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
ONo

@ Yes. List each account separately.
Type of account: Institution name:

Allstate IRA $113,000.00

 

 

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

BNo
2 Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
BNo
OO Yes....00.0.0.. Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

BNo
OD Yes............ Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
MNo

0 Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

Hi No
CJ Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibies
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

HNo
C1 Yes. Give specific information about them...

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
BNo
Cl Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

Hi No
C Yes. Give specific information...

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social! Security
benefits; unpaid loans you made to someone else

HNo

O Yes. Give specific information.

Official Form 106A/B Schedule A/B: Property page 5
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Debtor 1 _Amy P Ferguson Case number (if known) 18-10485

 

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

No

Mf Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

Principal Financial Group- Disability

insurance;

Ameritas- Disability Insurance- three

disability policies $0.00

 

 

Allstate Life insurance- One Term Life

 

 

policy;

Three Whole Life policies Unknown
AFLAC-

cancer/hospital/accidental/spec event

insurance policy (paycheck deducted) $0.00

 

 

BCBS Health Insurance- (paycheck
deducted) $0.00

 

 

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

HNo
0 Yes. Give specific information.

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

HNo
O Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
@ No
C Yes. Describe each claim.........

35. Any financial assets you did not already list

CI No

EE Yes. Give specific information..

 

} Pending community property lawsuit-unresolved claims and
contigent claims of former spouse vs each other Unknown

 

 

Stavros Panagoulopoulos- debtor believed had malpractice
claim against attorney.

Two attorneys have advised her that any potential claim likely
prescribed Unknown

 

 

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here $114,031.36

 

 

 

Describe Any Business-Related Property You Own or Have an Interest in. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
No. Go to Part 6.

Official Form 106A/B Schedule A/B: Property page 6
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Debtor 1 Amy P Ferguson Case number (if known) 18-10485

B Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

38. Accounts receivable or commissions you already earned
HNo
O Yes. Describe.....

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
MNo

O Yes. Describe.....

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

ONo
WM Yes. Describe.....

 

Shed on father's property has LLC assets-Shed; four dental chairs
with units Unknown

 

 

 

Patterson Dental Supply,Inc. Claim #12-Secured/UCC1 (#180239)
Dental related eqipment-cerec maching (makes crowns)
(Financed in debtor's name/not business)

Debtor does not believe value exceeds claim amount $51,204.04

 

 

 

Patterson Dental Supply, Inc.; Claim #13;Secured-UCC1
Dental related equiment-x-ray machine

(Financed in debtor's name/not business)

Debtor does not believe value exceeds claim amount $140,821.02

 

 

 

 

41. Inventory
HNo
C] Yes. Describe.....

42. Interests in partnerships or joint ventures
HNo

0 Yes. Give specific information about them..............0....
Name of entity: % of ownership:

43. Customer lists, mailing lists, or other compilations
HE vo.

Ode your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

BE No
O Yes. Describe...

44. Any business-related property you did not already list
MNo

0 Yes. Give specific information.........

Official Form 106A/B Schedule A/B: Property page 7
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Debtor 1 Amy P Ferguson Case number (ifknown) 18-10485

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached

 

 

 

 

 

 

Hi No

 

 

 

 

 

 

for Part 5. Write that number here. $192,025.06
ace Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an interest In.
fae if you Own or have an interest in farmland, list it in Part 1.
46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
I No. Go to Part 7.
C1 Yes. Go to line 47.
Describe All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
D Yes. Give specific information.........
54. Add the dollar value of all of your entries from Part 7. Write that number here .........sssssessssssssseeeseees $0.00
List the Totals of Each Part of this Form
55. Part 1: Total real estate, line 2 $1,604,000.00°

56. Part 2: Total vehicles, line 5

$38,000.00

57. Part 3: Total personal and household items, line 15 $13,380.00.

58. Part 4: Total financial assets, line 36 $114,031.36

59. Part 5: Total business-related property, line 45 $192,025.06

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61... $357,436.42 Copy personal property total

$357,436.42

 

63. Total of all property on Schedule A/B. Add line 55 + line 62

 

$1,961,436.42

 

 

Official Form 106A/B Schedule A/B: Property
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page 8
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Fal in EMI DicMaE tel to identify your case:

 

 

| Debtor 4 Amy P Ferguson

! First Name Middle Name Last Name
| Debtor 2

(Spouse if, filing) First Name Middle Name Last Name

| United States Bankruptcy Court forthe: | MIDDLE DISTRICT OF LOUISIANA

 

Case number 18-10485
(if known)
{

Official Form 106C
Schedule C: The Property You Claim as Exempt

 

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@ Check if this is an
amended filing

4/16

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and

case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited

to the applicable statutory amount.
identify the Property You Claim as Exempt
1. Which set of exemptions are you claiming? Check one only, even if your spouse is tiling with you.
@ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
CO You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

    

_ Brief description ‘of the property’and lire on Current valu. of tie’ Amount‘of the exemption:

    
 

ane-box for ach exemp

 

390 Glover Cemetery Road Pine $1,080,000.00  @ $35,000.00 La. Const. Art. 12, § 9;

Grove, LA 70453 Saint Helena — ——_—_—_____———— _ LSA-RS. § 20:1
County 0 100% of fair market value, up to
Property transferred to Ex-husband any applicable statutory limit

in community property settlement
Terms of agreement seem to express
some residual rights to value in the
event of failure of terms of
agreement; Debto

Line from Schedule A/B: 1.1

 

2016 Volvo XC90 45000 miles $38,000.00 ml $7,500.00  LSA-R.S. § 13:3881(A)(7)

Line from Schedule A/B: 3.1 —————
O 100% of fair market value, up to
any applicable statutory limit

 

Smail appliances, pots, pans, dishes, $1,350.00 $1,350.00 LSA-R.S. § 13:3881(A)(4)(a)

table & chairs, hutch/cabinet, linens
Line from Schedule A/B: 6.1 0 100% of fair market value, up to
any applicable statutory limit

 

Sofa, two chairs, coffee table, table $1,430.00 $1,430.00 LSA-R.S. § 13:3881(A)(4)(a)
lamp, rugs — Se
Line from Schedule A/B: 6.2 O 100% of fair market value, up to

any applicable statutory limit

 

Official Form 106C Schedule C: The Property You Claim as Exempt
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page 1 of 3

Best Case Bankruptcy
Case 18-10485 Doc 75

 

   

  
  
 

 

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100% of fair market value, up to
any applicable statutory limit

Debtor1 Amy P Ferguson Case number (if known) 18-10485
-Brief description of the'p “and:line:on Current value-of the: Amoiint ofthe exemption you claim: Spécific laws that allow.exemption
Schedule: A/B that lists t ce “portion yo Cees OTR BER Lag Ps . : HES ce
as at Copy the value fro “Check only one box for each exemption.”
wey ree Schedule AB! ese a me Ses Beles
Bedroom set; two dressers; two $300.00 $300.00 -LSA-R.S. § 13:3881(A)(4)(a)
night stands Saslen
Line from Schedule A/B: 6.3 O 100% of fair market value, up to
any applicable statutory limit
Clothing $1,000.00 m $1,000.00 LSA-R.S. § 13:3881(A)(4)(a)
Line from Schedule A/B: 11.1 _ —_—_— --
C) 400% of fair market value, up to
any applicable statutory limit
Three dogs Unknown $0.00 LSA-R.S. § 13:3881(A)(4)(f)
Line from Schedule A/B: 13.1
O 100% of fair market value, up to
any applicable statutory limit
Allstate IRA LSA-R.S. §§ 20:33(1),
Line from Schedule A/B: 21.1 ___$113,000.00 = $113,000.00 13:3881(D),11USC541(c)(2),11
C 100% of fair market value, upto USC522(b)(3)(C),11 USC522(d)
any applicable statutory limit (12)
Principal Financial Group- Disability $0.00 $0.00 LSA-R.S. § 22:646
insurance;
Ameritas- Disability Insurance- three O 100% of fair market value, up to
disability policies any applicable statutory limit
Line from Schedule A/B: 31.1
Principal Financial Group- Disability $0.00 $0.00 LSA-R.S. § 22:647(A)
insurance;
Ameritas- Disability Insurance- three O 400% of fair market value, up to
disability policies any applicable statutory limit
Line from Schedule A/B: 31.1
Allstate Life Insurance- One Term Unknown $0.00 LSA-R.S. § 22:646
Life policy; OO
Three Whole Life policies O 400% of fair market value, up to
Line from Schedule A/B: 31.2 any applicable statutory limit
Allstate Life Insurance- One Term Unknown $0.00 LSA-R.S. § 22:647(A)
Life policy; —_ T_T,
Three Whole Life policies C) 100% of fair market value, up to
Line from Schedule A/B: 31.2 any applicable statutory limit
AFLAC- LSA-R.S. § 22:646
cancer/hospital/accidental/spec $0.00 $0.00
event insurance policy (paycheck C1 100% of fair market value, up to
deducted) any applicable statutory limit
Line from Schedule A/B: 31.3
BCBS Health Insurance- (paycheck $0.00 $0.00 LSA-R.S. § 22:646
deducted) -
Line from Schedule A/B: 31.4 Oo

 

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Schedule C: The Property You Claim as Exempt

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Debtor! Amy P Ferguson

Case number (if known)

 

    
 

‘Brief description of the property and line‘on.
: Schedule A/B that lists this: property. portion youown =

Schedule A/B

Patterson Dental Supply,Inc. Claim

#12-Secured/UCC1 (#180239) ___ $51,204.04 7
Dental related eqipment-cerec Oo
maching (makes crowns)

(Financed in debtor's name/not

business)

Debtor does not believe value

exceeds claim amount

Line from Schedule A/B: 40.2

Current value of the. Amount of the exemption you clai

Copy the value from Check only one box for each exemption.

$51,204.04

100% of fair market value, up to
any applicable statutory limit

   

18-10485

 

Specific laws that allow exemption:

LSA-R.S. § 13:2881(A)(2)

 

Patterson Dental Supply, Inc.; Claim

#13;Secured-UCC1 ___ $140,821.02, a
Dental related equiment-x-ray Oo
machine

(Financed in debtor's name/not

business)

Debtor does not believe value

exceeds claim amount

Line from Schedule A/B: 40.3

$140,821.02

100% of fair market value, up to
any applicable statutory limit

LSA-R.S. § 13:3884(A)(2)

 

3. Are you claiming a homestead exemption of more than $160,375?

(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

Mm No
[C1 Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
O No
O Yes
Official Form 106C Schedule C: The Property You Claim as Exempt

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his i WeuueLien to identify-your case:

 
   

i Deotor 1 Amy P Ferguson

 

i First Name Middle Name Last Name
: Debtor 2

 

| (Spouse if, filing) First Name Middle Name Last Name
i

i United States Bankruptcy Court forthe: © MIDDLE DISTRICT OF LOUISIANA

 

|
| Case number 18-10485

(if known) I

Check if this is an
| amended filing

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).

1. Do any creditors have claims secured by your property?
0 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
@ Yes. Fill in all of the information below.

List All Secured Claims

 

 

 

 

 

 

 

2. List:all secured claims. If a creditor has more than one secured claim, list the creditor separately Column A Column B Column C
for each. claim. ° If more than one creditor has a particular claim, list the other creditors in:Part 2: As Amount of claim Value of.collateral Unsecured
much as possible, list the claims in alphabetical order according to the-creditor's name: *°. Do not deduct the that supports this portion
- . value of collateral. claim If any

2.1 | Bank of America Describe the property that secures the claim: $46,000.00 $38,000.00 $8,000.00

Creditor's Name 2016 Volvo XC90 45000 miles

Payoff Dept., Mail Stop

TX1-160-06-19

4950 N Stemmons Fwy, As of the date you file, the claim is: Check all that

apply.
Ste. 6020 Oo :
Contingent
Dallas, TX 75207 8
Number, Street, City, State & Zip Code oO Unliquidated
oO Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
WF pebtor 1 only Olan agreement you made (such as mortgage or secured
D Debtor 2 only car loan)
CI Debtor 1 and Debtor 2 only Oo Statutory lien (such as tax lien, mechanic's lien)
D Atleast one of the debtors and another 1 Judgment lien from a lawsuit
CJ Check if this ciaim relates to a O other (including a right to offset)
community debt
Date debt was incurred 05/2018 Last 4 digits of account number
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 5

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Debtor! Amy P Ferguson Case number (if known) 18-10485
“First Name Middle Name Last Name
2.2 | Hancock Bank Of La Describe the property that secures the claim: $58,295.00 $1,080,000.00 $0.00
Creditor's Name 390 Glover Cemetery Road Pine
Grove, LA 70453 Saint Helena
County |
Property transferred to Ex-husband |
in community property settlement
Terms of agreement seem to |
express some residual rights to
Attention: Bankruptcy value in the event of failure of
Department
Po Box 4019 As of the date you file, the claim is: Check all that
Gulfport, MS 39502 CO contingent
Number, Street, City, State & Zip Code | Unliquidated
oO Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
O Debtor 1 only Can agreement you made (such as mortgage or secured
CO Debtor 2 only car loan)
C1 Debtor 1 and Debtor 2 only D Statutory lien (such as tax lien, mechanic's lien)
Ml Atieast one of the debtors and another [1 Judgment lien from a lawsuit
C1 Check if this claim relates to a C1 other (including a right to offset)
community debt
Opened
03/07 Last
Active
Date debt was incurred 3/16/18 Last 4 digits of account number 8380
2.3 | Internal Revenue Service Describe the property that secures the claim: $162,989.45 $162,989.45 $0.00
Creditors Name all property owned by debtor
h file, is:
PO Box 69 a, ort e date you file, the claim is: Check all that
Memphis, TN 38101-0069 CO Contingent
Number, Street, City, State & Zip Code oO Unliquidated
C) pisputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
B pebtor 1 only C1 An agreement you made (such as mortgage or secured
D Debtor 2 only car loan)
D Debtor 1 and Debtor 2 only CO statutory tien (such as tax lien, mechanic's lien)
OC Atleast one of the debtors and another ©) Judgment tien from a lawsuit
CI Check if this claim relates to a WH other (including a right to offset) Tax lien
community debt
Date debt was incurred 2012 Last 4 digits of account number
Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 5

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Debtor 1 Amy P Ferguson Case number (if known) 18-10485
First Name Middle Name Last Name
(2.4 | Investar Bank Describe the property that secures the claim: $178,000.00 $524,000.00 $0.00
Creditor's Name 34287 Hwy 16 Denham Springs, LA
70706 Livingston County
Dental Practice building ;Tax
assessed value-land $19,300;
structure $193,000 ((appraised for
$35Ck/ 2013)
Plus 1.52 acres tract (appraised for
$174k in 2013)
PO Box 84207 as of the date you file, the claim is: Check all that
Baton Rouge, LA 70884 Gi Contingent
Number, Street, City, State & Zip Code oO Untiquidated
OQ pisputea
Who owes the debt? Check one. Nature of lien. Check all that apply.
C1 Debtor 1 only Olan agreement you made (such as mortgage or secured
D Debtor 2 only car loan)
D1 Debtor 1 and Debtor 2 only O Statutory lien (such as tax lien, mechanic's lien)
MM at least one of the debtors and another. 1 Judgment lien from a lawsuit
D check if this claim relates to a CZ other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number __
2.5 | IRS Describe the property that secures the claim: $0.00 $0.00 $0.00
Creditor’s Name all assets owned by the debtor
1555 Poydras Street, Ste.
220
As of the date you file, the claim is: Check ail that
Stop 31 apply. y
New Orleans, LA 70112 OD contingent
Number, Street, City, State & Zip Code oO Unliquidated
DB Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
CD Debtor 1 only CZ An agreement you made (such as mortgage or secured
OD Debtor 2 only car loan)
DO Debtor 1 and Debtor 2 only oD Statutory lien (such as tax lien, mechanic's lien)
Il At least one of the debtors and another. 1 Judgment lien from a lawsuit
CO Check if this claim relates to a D other {including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 3 of 5

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Debtor1 Amy P Ferguson Case number (if known) 18-10485
First Name Middle Name Last Name
26 | Patterson Companies,
” |Ine. Describe the property that secures the claim: $51,204.04 $51,204.04 $0.00
Creditor’s Name Patterson Dental Supply,Inc. Claim |
#12-Secured/UCC1 (#180239) i
Dental related eqipment-cerec |
maching (makes crowns)
(Financed in debtor's name/not
business)
Debtor does not believe value
; exceeds claim amount
1031 Mendota Heights As of the date you file, the claim is: Check ali that
Road apply,
Saint Paul, MN 55120 C1 contingent
Number, Street, City, State & Zip Code oO Unliquidated
OD Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
BB pbebtor 1 only Olan agreement you made (such as mortgage or secured
C1 Debtor 2 only car loan)
DO Debtor 1 and Debtor 2 only 0 Statutory lien (such as tax lien, mechanic's lien)
DO Atleast one of the debtors and another [J Judgment lien from a lawsuit
D Cheek if this claim relates to a DO other (including a right to offset)
community debt
Date debt was incurred 2014 Last 4 digits of accountnumber 0239
27 Patterson Companies,
"dine. Describe the property that secures the claim: $140,821.02 $140,821.02 $0.00
Creditor's Name Patterson Dental Supply, inc.; Claim
#13;Secured-UCC1
Dental related equiment-x-ray
machine
(Financed in debtor's name/not
business)
Debtor does not believe value
; exceeds claim amount
1031 Mendota Heights As of the date you file, the claim is: Check alt that
Road apply.
Saint Paul, MN 55120 C1 contingent
Number, Street, City, State & Zip Code oO Unliquidated
0 Disputed
Who owes the debt? Check one. Nature of lien. Check ail that apply.
Wi pebtor 1 only Olan agreement you made (such as mortgage or secured
CZ Debtor 2 only car loan)
CI Debtor 1 and Debtor 2 only C2 Statutory lien (such as tax lien, mechanic's lien)
D At least one of the debtors and another ~=0 Judgment lien from a lawsuit
OD check if this claim relates to a 0 other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number 1474
Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 4 of 5

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Debtor1 Amy P Ferguson Case number (if known) 18-10485
First Name Middle Name iast Name
(2.8 | Wells Fargo Home Mor Describe the property that secures the claim: $335,653.00 $1,080,000.00 $0.00
Creditors Name 390 Glover Cemetery Road Pine
Grove, LA 70453 Saint Helena
County

Property transferred to Ex-husband
in community property settlement
Terms of agreement seem to
express some residual rights to

 

 

 

 

 

 

 

Attn: Bankruptcy value in the event of failure of
Mac X7801-014 3476 or he a you file, the claim is: Check all that
. . : Check all tha
Stateview Blvd apply.
Fort Mill, SC 29715 Ci contingent
Number, Street, City, State & Zip Code oO Unliquidated
Oo Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C1 Debtor 1 only II An agreement you made (such as mortgage or secured
O Debtor 2 only car loan)
© Debtor 1 and Debtor 2 only O Statutory lien (such as tax lien, mechanic's lien)
HI Atleast one of the debtors and another [4] Judgment lien from a lawsuit
CO Check if this claim relates to a B other (including a right to offset) community property settlement
community debt
Opened
11/11 Last
Active
Date debt was incurred 4/06/18 Last 4 digits of account number 9183
Add the dollar value of your entries in Column A on this page. Write that number here: $972,962.51
If this is the last page of your form, add the dollar value totals from afl pages.
Write that number here: $972,962.51

 

 

List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified:about your bankruptcy for a debt that you already listed.in Part 1. For example, if a collection agency is
trying tocollect from you for.a debt-you owe to someone else, list the creditor.in Part 1, and then list the collection agency here. Similarly, if you have:more
than one creditor for any of the debts that you listed in Part-1, list the additional creditors here. if you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 5 of 5

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RR MELE Licorn to identify your case:

 

 

-
| Debtor 1 Amy P Ferguson
i First Name Middle Name Last Name
| Debtor 2

(Spouse if, filing) First Name Middle Name Last Name

 

| United States Bankruptcy Court forthe: © MIDDLE DISTRICT OF LOUISIANA

Case number 18-10485
| (if known)

 

HM Check if this is an
amended filing

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).

ist List All of Your PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims against you?

 

CI No. Go to Part 2.
a Yes.

List all-of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
identify what type of claim it is. If a claim has both priority and nonpriority amounts; list that claim here and show both priority and nonpriority amounts. As much as
possible, fist the claims in alphabetical order according to the creditor's name. If you have more than two priority unsecured claims, fill out the Continuation Page of
Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

 

 

 

Total claim Priority Nonpriority
amount amount
2.1] Department of Revenue Last 4 digits of account number $17,777.27 $0.00 $17,777.27
Priority Creditors Name
P.O. Box 3550 When was the debt incurred? 2012/2014
Baton Rouge, LA 70821-3550
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. oO Contingent
B debtor 1 only © unliquidated
01 Debtor 2 onty O bDisputed
D1 Debtor 1 and Debtor 2 only Type of PRIORITY unsecured claim:
D Atteast one of the debtors and another DO Domestic support obligations
CO check if this claim is for a community debt Ml Taxes and certain other debts you owe the government
is the claim subject to offset? D1 Claims for death or personal injury while you were intoxicated
no C1 other. Specify
0 Yes
.
}2.2 | internal Revenue Service Last 4 digits of account number $58,330.81 $58,330.81 $0.00
Priority Creditors Name
PO Box 69 When was the debt incurred? 2009
Memphis, TN 38101-0069
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one. O contingent
@ pebtor 1 only oO Unliquidated
DO) Debtor 2 only | Disputed
OD Debtor 1 and Debtor 2 only Type of PRIORITY unsecured claim:
D Atleast one of the debtors and another D Domestic support obligations
C Check if this claim is for a community debt Taxes and certain other debts you owe the government
Is the claim subject to offset? D1 Claims for death or personal injury while you were intoxicated
No D1 other. Specify
O Yes
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of 17

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Debtor1 Amy P Ferguson Case number (if known) 18-10485
2.3 Internal Revenue Service Last 4 digits of account number $28,487.57 $28,487.57 $0.00
Priority Creditor's Name
PO Box 69 When was the debt incurred? 2010 _
Memphis, TN 38101-0069
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. 0 contingent
Debtor 1 only OQ unliquidated
0 Debtor 2 only OQ Disputed
CI Debtor 1 and Debtor 2 only Type of PRIORITY unsecured claim:
D1 Atteast one of the debtors and another C1 Domestic support obligations
O check if this claim is for a community debt Ml Taxes and certain other debts you owe the government
Is the claim subject to offset? D claims for death or personal injury while you were intoxicated
No O other. Specify
0 Yes
2.4 internal Revenue Service Last 4 digits of account number $47,337.38 $47,337.38 $0.00
Priority Creditor's Name
PO Box 69 When was the debt incurred? 2011
Memphis, TN 38101-0069
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. 0 contingent
Debtor 1 only 1 unliquidated
D pebtor 2 only D Disputed
CO) Debtor 1 and Debtor 2 only Type of PRIORITY unsecured claim:
D At ieast one of the debtors and another CI Domestic support obligations
O Check if this claim is for a community debt Wl Taxes and certain other debts you owe the government
is the claim subject to offset? DO claims for death or personal injury while you were intoxicated
Bno O other. Specify
D Yes
. .
|2.5 | Internal Revenue Service Last 4 digits of account number $51,420.53 $51,420.53 $0.00
Priority Creditor's Name
PO Box 69 When was the debt incurred? 2013
Memphis, TN 38101-0069
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one. oO Contingent
i Debtor 1 only C1 unliquidated
D debtor 2 only oO Disputed
C1 Debtor + and Debtor 2 only Type of PRIORITY unsecured claim:
D Atleast one of the debtors and another C1 Domestic support obligations
OD Check if this claim is for a community debt a Taxes and certain other debts you owe the government
Is the claim subject to offset? D1 Claims for death or personal injury while you were intoxicated
no CI other. Specify
C1 Yes
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 17

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Debtor1 Amy P Ferguson Case number (if known) 18-10485
J
(26; IRS Last 4 digits of account number $0.00 $0.00 $0.00
Priority Creditor's Name /
1555 Poydras Street, Ste. 220 When was the debt incurred? 2010
Stop 31
New Orleans, LA 70112
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. oO Contingent
Debtor 1 only C1 unliquidated
OD Debtor 2 only D pisputed
CI Debtor 4 and Debtor 2 only Type of PRIORITY unsecured claim:
Datteast one of the debtors and another C1 Domestic support obligations
D1 Check if this claim is fora community debt Taxes and certain other debts you owe the government
Is the claim subject to offset? D Claims for death or personal injury while you were intoxicated
No DC) other. Specify
Dyes 941 taxes;Tax liens
Lawco;5,669.39
aan
127 | IRS Last 4 digits of account number $0.00 $0.00 $0.00
Priority Creditor's Name
1555 Poydras Street, Ste. 220 When was the debt incurred? 2008, 2009
Stop 31
New Orleans, LA 70112
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. oO Contingent
® bebtor 1 only D unliquidated
D Debtor 2 only CQ Disputed
Oo Debtor 1 and Debtor 2 only Type of PRIORITY unsecured claim:
D Atteast one of the debtors and another C Domestic support obligations
CI Check if this claim is for a community debt a Taxes and certain other debts you owe the government
Is the claim subject to offset? O claims for death or personal injury while you were intoxicated
No CO other. Specify
O ves 941 taxes-tax lien
Lawco;30,451.10
2.8 IRS Last 4 digits of account number $0.00 $0.00 $0.00
Priority Creditor's Name
1555 Poydras Street, Ste. 220 When was the debt incurred? 2011
Stop 31
New Orleans, LA 70112
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. Oo Contingent
@ Debtor 4 only C1 uniiquidated
D Debtor 2 only OQ disputed
D1 Debtor 1 and Debtor 2 only Type of PRIORITY unsecured claim:
D Atleast one of the debtors and another DI Domestic support obligations
O check if this claim is for a community debt Wl Taxes and certain other debts you owe the government
Is the claim subject to offset? D claims for death or personal injury while you were intoxicated
no CO other. Specify
O Yes 941 taxes;tax lien
Lawco; 13,275.06
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 17

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Case number (if known) 18-10485

Debtor1 Amy P Ferguson

 

 

(291 IRS

Priority Creditors Name

1555 Poydras Street, Ste. 220
Stop 31

New Orleans, LA 70112

Number Street City State Zip Code

Who incurred the debt? Check one.

Last 4 digits of account number

$0.00
2011, 2012, 2013

$0.00 $0.00

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply
oO Contingent
C) unliquidated

CZ Disputed
Type of PRIORITY unsecured claim:

@ Debtor 4 only
0 Debtor 2 only

O debtor 1 and Debtor 2 only

Dat least one of the debtors and another CZ Domestic support obligations

CO Check if this claim is for a community debt
Is the claim subject to offset?

Hino
D yes

a Taxes and certain other debts you owe the government
C1 Claims for death or personal injury while you were intoxicated

O other. Specify

 

1120 taxes-possibly personal
90,762.67

 

List All of Your NONPRIORITY Unsecured Claims
3. Do any creditors have nonoriority unsecured claims against you?

D1 No. You have nothing to report in this part. Submit this form to the court with your other schedules.

a Yes.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
unsecured claim, jist the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not fist claims already included in Part 1. If more
than one creditor holds a particular claim, list the other.creditors in Part 3:If you have more than three nonpriority unsecured claims fill out the Continuation Page of

 

 

 

 

 

Part 2.
Total claim
1
41 A. Todd Caruso Last 4 digits of account number _ $0.00
Nonpriority Creditor's Name
234 Del Este Ave. Suite 502 When was the debt incurred?
Denham Springs, LA 70726
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
 pebtor 1 only O contingent
OD) debtor 2 only D unliquidated
O Debtor 1 and Debtor 2 only Oo Disputed
D Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C check if this claim is fora community Cl student oans
debt CO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno C) Debts to pension or profit-sharing plans, and other similar debts
O Yes @ other. Specify suit notice
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 4 of 17

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Debtor1 Amy P Ferguson

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j 7

|4.2 | AES/Keystone Stafford
Nonpriority Creditor's Name
Aes/Ddb
Po Box 8183

Harrisburg, PA 17105
Number Street City State Zip Code

Who incurred the debt? Check one.

I Debtor 1 only

OD Debtor 2 only

D1 Debtor 1 and Debtor 2 only

D Atleast one of the debtors and another

 

 

O check if this claim is fora community

 

Last 4 digits of accountnumber 0001 _ $0.00

Opened 02/97 Last Active
When was the debt incurred? §/29/13

 

As of the date you file, the claim is: Check ail that apply

O contingent
Oo Unliquidated

CZ) pisputed
Type of NONPRIORITY unsecured claim:

I student loans

 

 

debt oO Obligations arising out of a separation agreement or divorce that you did not
ts the claim subject to offset? teport as priority claims
BNno O Debts to pension or profit-sharing plans, and other similar debts
O ves D other. Specify
Educational
t i . .
i4.3 | American Express Last 4 digits of accountnumber 4008 $57,403.56

 

Nonpriority Creditor's Name
PO Box 650448

Dallas, TX 75265-0448
Number Street City State Zip Code

Who incurred the debt? Check one.

BH pebtor 1 only

D Debtor 2 only

OD Debtor 1 and Debtor 2 only

2 At teast one of the debtors and another

 

O Check if this claim is fora community
debt

1s the claim subject to offset?

Bo

D Yes

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

oO Contingent
DO untiquidated

D Disputed
Type of NONPRIORITY unsecured claim:

CO student loans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

D Debts to pension or profit-sharing plans, and other similar debts

= Business
Other. Specify personal guaranteed

 

 

44 American Express Centurion Bank
Nonpriority Creditor's Name

clo Becket and Lee LP

PO Box 3001

Malvern, PA 19355-0701
Number Street City State Zip Code
Who incurred the debt? Check one.

 

 

I debtor 1 only

O Debtor 2 only

C1 Debtor 4 and Debtor 2 only

D Atleast one of the debtors and another

DO Check if this claim is for a community

Last 4 digits of account number $67,000.00

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

oO Contingent
O unliquidated

oO Disputed
Type of NONPRIORITY unsecured claim:

D student loans

 

 

debt 0 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bi no O Debts to pension or profit-sharing plans, and other similar debts
American Bank vs. Henry Lawrence
21 St JDC Case #22335 Div F
community property obligation
Judgment
Debt not in debtor's name
QO Yes WM other. Specify Added
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 5 of 17

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Debtor1 Amy P Ferguson Case number (if known) 18-10485
i4.5 | American Honda Finance Last 4 digits of account number 6479 __ $0.00
Nonpriority Creditor's Name
Attn: Bankruptcy Opened 12/10 Last Active
Po Box 168088 When was the debt incurred? 41112
Irving, TX 75016
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
® pebtor 1 only oO Contingent
C) Debtor 2 only D0 unliquidated
OD Debtor 1 and Debtor 2 only oO Disputed
CZ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community C student toans
debt 0 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
EE No O Debts to pension or profit-sharing plans, and other similar debts
D Yes HH other. Specify Automobile
14.6 i
;46 | Bank Of America Last 4 digits of accountnumber 8521 $12,369.00
Nonpriority Creditor's Name
Attn: Bankruptcy Opened 11/21/99 Last Active
Po Box 982238 When was the debt incurred? 3/20/18
EI Pase, TX 79998
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
BB pebtor 1 only Oo Contingent
C1 pebtor 2 onty D unliquidated
O Debtor 1 and Debtor 2 only O Disputed
CO Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C) Check if this claim is for a. community CJ student loans
debt D Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BENo C2) Debts to pension or profit-sharing plans, and other similar debts
O Yes HH other. specify Credit Card
| 47 Bank Of America Last 4 digits of account number 6712 $0.00
Nonpriority Creditor's Name
Attn: Bankruptcy Opened 03/06 Last Active
Po Box 982238 When was the debt Incurred? 3/05/13
El Paso, TX 79998
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
@ pebtor 1 only OD contingent
CJ Debtor 2 only D unliquidated
D Debtor 1 and Debtor 2 only D Disputed
7 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community C1 student loans
debt | Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No O Debts to pension or profit-sharing plans, and other similar debts
0 Yes Hl other. Specify Recreational
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 6 of 17

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Debtor1 Amy P Ferguson

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} Y

'48 | Bradford H. Felder Last 4 digits of account number _ $0.00
Nonpriority Creditor's Name
PO Box 80948 When was the debt incurred?
Lafayette, LA 70598-0948
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
a Debtor 1 only D Contingent
CO Debtor 2 only O Unliquidated
0 Debtor 1 and Debtor 2 only 0D Disputed
0 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community CJ student loans
debt DO obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BNno D Debts to pension or profit-sharing plans, and other similar debts
0 yes @ other. Specify Suit notice

a

{4.9 Bruce Kuehne Last 4 digits of account number $0.00
Nonpriority Creditor's Name
10839 Perkins Rd. When was the debt incurred?
Baton Rouge, LA 70810
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
HF pebtor 1 onty O contingent
D Debtor 2 only D unliquidated
C) Debtor 4 and Debtor 2 only O Disputed
© At least one of the debtors and another Type of NONPRIORITY unsecured claim:
OC Check if this claim is fora community Cl student ioans
debt DF Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
a No 0 Debts to pension or profit-sharing plans, and other similar debts
O Yes @ other. Specify Suit notice

44 .

0 Capital One Last 4 digits of account number 3777 $0.00

Nonpriority Creditor's Name
Attn: Bankruptcy Opened 6/18/03 Last Active
Po Box 30285 When was the debt incurred? 4/13/12
Salt Lake City, UT 84130
Number Street City State Zip Code As of the date you fite, the claim is: Check all that apply
Who incurred the debt? Check one.
Wi Debtor 1 only 0 contingent
O Debtor 2 only D0 untiquidated
CO Debtor 1 and Debtor 2 only oO Disputed
CD Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
D check if this claim is fora community C student toans
debt QO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
B No D Debts to pension or profit-sharing plans, and other similar debts
O Yes | Other. Specify Credit Card

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Debtor 1 Amy P Ferguson Case number (if known) 18-10485
41 .
1 Capital One Last 4 digits of account number 8955 _ $0.00
Nonpriority Creditor's Name
Attn: Bankruptcy Opened 12/98 Last Active
Po Box 30285 When was the debt incurred? 3/15/17
Sait Lake City, UT 84130
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WB pebtor 4 only CZ contingent
Ci bDebtor 2 onty D unliquidated
OO Debtor 4 and Debtor 2 only | Disputed
D At least one of the debtors and another Type of NONPRIORITY unsecured claim:
DO Check if this claim ts for a. community C1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HE No C1 Debts to pension or profit-sharing plans, and other similar debts
C yes @ other. Specify Credit Card
41
2 Carolyn F. Ott . Last 4 digits of account number $0.00
Nonpriority Creditor's Name
8375 Rushing Road East When was the debt incurred?
Denham Springs, LA 70726
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
HH Debtor 1 only C1 Contingent
CO Debtor 2 only CO unliquidated
DO Debtor 1 and Debtor 2 only DO Disputed
C2 Atteast one of the debtors and another Type of NONPRIORITY unsecured claim:
0 Check if this claim is for a community C1 student ioans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno O Debts to pension or profit-sharing plans, and other similar debts
0 Yes other. Specify Divorce atty-Notice only
4.1 . :
3 Cassie Felder & Associates, L.L.C. Last 4 digits of account number $89,127.16
Nonpriority Creditor's Name
7515 Jefferson Hwy., #313 When was the debt incurred?
Baton Rouge, LA 70806
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
B® bebtor 1 only O Contingent
D Debtor 2 only D unliquidated
CO Debtor 1 and Debtor 2 only O pisputed
CO At least one of the debtors and another Type of NONPRIORITY unsecured claim:
OC Check if this claim is fora community C1 student loans
debt 0 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino DQ Debts to pension or profit-sharing plans, and other similar debts
= Judgment; Suit #643,142, 19th JDC
CO Yes Other. Specify Legal representation
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Debtor1 Amy P Ferguson Case number (if tnown) 18-10485
\ 4.4 see
4 Conduent/Nelnet Nhip-iii/tr Last 4 digits of accountnumber 7441 $0.00
Nonpriority Creditor's Name
Attn: Claims Department Opened 8/21/02 Last Active
Po Box 7051 When was the debt incurred? 7120/17
Utica, NY 13504
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
BB Debtor 1 only CO Contingent
C1 debtor 2 only © unliquidated
OC Debtor 1 and Debtor 2 only C Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
O check if this claim is for a community B® student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
{s the claim subject to offset? report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
No | i fi d other similar deb
0 yes CO other. Specify
Educational
41
5 D & R Placements, Inc. Last 4 digits of account number $7,716.90
Nonpriority Creditor's Name
8394 Elta Dr. Suite B When was the debt incurred? 2011
Cicero, NY 13039
Number Street City State Zip Code As of the date you fife, the claim is: Check all that apply
Who incurred the debt? Check one.
@ pebtor 4 only CO Contingent
D Debtor 2 only D1 untiquidated
D Debtor 1 and Debtor 2 only Oo Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is fora community C] student ioans
debt D Obligations arising out of a separation agreement or divorce that you did not
ts the claim subject to offset? report as priority claims
Hino D Debts to pension or profit-sharing plans, and other similar debts
Business
a (Ex-husband consolidated loans here-
OC ves Other. Specify business has been paying)
41 .
6 First Data Last 4 digits of accountnumber 2000 _ $239.00
Nonpriority Creditor's Name
5565 Glenridge Connector Ne Opened 2/01/14 Last Active
Ste 2000 When was the debt incurred? 5/24/17
Atlanta, GA 30342
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Mi pebtor 1 only oO Contingent
D Debtor 2 onty CO unliquidated
D Debtor 1 and Debtor 2 only 0 pisputea
CO Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community C1 Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BNno O Debts to pension or profit-sharing plans, and other similar debts
O Yes @ other. specify Lease
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Debtor! Amy P Ferguson _ Case number (i known) 18-10485
44 . .
7 First National Bank Last 4 digits of account number 2857 $0.00
Nonpriority Creditor's Name — _
Attn: Tina Opened 01/14 Last Active
1620 Dodge St Mailstop 4440 When was the debt incurred? 10/04/17
Omaha, NE 68197
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
HB Debtor 1 onty O contingent
D Debtor 2 only D unliquidated
C1 Debtor 1 and Debtor 2 only O pisputed
D1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community C1 student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino QD Debts to pension or profit-sharing plans, and other similar debts
O yes HH other. Specify Credit Card
144 |
ia! First National Bank Last 4 digits of account number 0638 $0.00
Nonpriority Creditor's Name
Attn: Tina Opened 1/01/14 Last Active
1620 Dodge St Mailstop 4440 When was the debt incurred? 09/17
Omaha, NE 68197
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Wi Debtor 1 only D contingent
CD Debtor 2 only D Unliquidated
CD Debtor 1 and Debtor 2 only D Disputed
0 atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
0 Check if this claim is for a community D0 student ioans
debt DO obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino DZ Debts to pension or profit-sharing plans, and other similar debts
0 Yes IM other. Specify Credit Card
44
9 Hancock Bank Of La Last 4 digits of account number 6081 $0.00
Nonpriority Creditor’s Name
Attention: Bankruptcy Department Opened 04/09 Last Active
Po Box 4019 When was the debt incurred? 6/05/13
Gulfport, MS 39502
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Bf pebtor 1 only O contingent
D Debtor 2 only Oo Unliquidated
DO bebtor 4 and Debtor 2 only 0 pisputed
D1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O Cheek if this claim is for a community C student loans
debt D Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino CO debts to pension or profit-sharing plans, and other similar debts
O yes I other. Specify Automobile
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Debtor1 Amy P Ferguson Case number (if known) 18-10485
42
0 Hancock Bank Of La Last 4 digits of account number 2368 __ $0.00
Nonpriority Creditor's Name
Attention: Bankruptcy Department Opened 05/13 Last Active
Po Box 4019 When was the debt incurred? 6/12/15
Gulfport, MS 39502
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only oO Contingent
O Debtor 2 only Oo Unliquidated
D Debtor 1 and Debtor 2 only | Disputed
CZ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CJ Check if this claim is fora community C) student loans
debt C obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
BW Nno D Debts to pension or profit-sharing plans, and other similar debts
O Yes other. specify Automobile
4.2
4 John C Butler Last 4 digits of account number $0.00
Nonpriority Creditor's Name
3939 N. Causeway Blvd When was the debt incurred? _.
Ste 301
LA 70020
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Debtor 4 only O Contingent
DO Debtor 2 only oO Unliquidated
C1 Debtor 1 and Debtor 2 only O Disputed
CO At least one of the debtors and another Type of NONPRIORITY unsecured claim:
0 Check if this claim is for a community C1 student ioans
debt CZ obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino O Debts to pension or profit-sharing plans, and other similar debts
O yes Hl other. Specify tax attorney -Notice only
4.2
2 Joshua P. Melder Last 4 digits of account number $0.00

 

 

 

Nonpriority Creditor's Name
9311 Bluebonnet Blvd. Suite A
Baton Rouge, LA 70810

 

Number Street City State Zip Code

Who incurred the debt? Check one.
 bebior 1 only

OD bebtor 2 only

O Debtor 1 and Debtor 2 only

CO Atteast one of the debtors and another

C1 check if this claim is for a community
debt

Is the claim subject to offset?

Mino
0 Yes

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

oO Contingent
CO unliquidated

C1 disputed
Type of NONPRIORITY unsecured claim:

© student loans

D Obligations arising out of a separation agreement or divorce that you did not
teport as priority claims

O Debts to pension or profit-sharing pians, and other similar debts

@ other. specify Notice only

 

 

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Debtor! Amy P Ferguson Case number (if known) 18-10485
4.2
3 Marcus T. Foote Last 4 digits of account number $0.00
Nonpriority Creditor's Name
10839 Perkins Rd. When was the debt incurred?
Baton Rouge, LA 70810
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only Oo Contingent
OC bDebtor 2 only CD unliquidated
OC Debtor 1 and Debtor 2 only oO Disputed
D Atieast one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is fora community C1 Student toans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No OD Debts to pension or profit-sharing plans, and other similar debts
0 Yes @ other. Specify Divorce atty-Notice
4.2
4 Neinet Last 4 digits of account number 0559 $15,218.00
Nonpriority Creditor's Name
Attn: Claims Opened 08/02 Last Active
Po Box 82505 When was the debt incurred? 3/08/18
Lincoln, NE 68501.
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
& pebtor 1 only Oo Contingent
C7 debtor 2 only CD unliquidated
CO pebtor 1 and Debtor 2 only O pisputed
OD Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
0 check if this claim is for a community IB student loans
debt | Obligations arising out of a separation agreement or divorce that you did not
{s the claim subject to offset? report as priority claims
HENno OC Debts to pension or profit-sharing plans, and other similar debts
O yes CO other. Specify
Educational
42
5 Nelnet Last 4 digits of account number 0459 $11,846.00
Nonpriority Creditor's Name
Attn: Claims Opened 08/02 Last Active
Po Box 82505 When was the debt incurred? 3/08/18

Lincoln, NE 68501

 

Number Street City State Zip Code
Who incurred the debt? Check one.

I Debtor 1 only

DO Debtor 2 only

CD Debtor 4 and Debtor 2 only

DO Atleast one of the debtors and another

O Check if this claim is for a community
debt

Is the claim subject to offset?

No
DO yes

 

As of the date you file, the claim is: Check all that apply

oO Contingent
OD unliquidated

CO disputed
Type of NONPRIORITY unsecured claim:

@ student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

C1 Debts to pension or profit-sharing pians, and other similar debts

O other. Specify

 

Educational

 

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Debtor? Amy P Ferguson Case number (if known) 18-10485
my
14.2, .
16 | Patterson Companies, Inc. Last 4 digits of account number 3624 $0.00
Nonpriority Creditor's Name
1031 Mendota Heights Road When was the debt incurred?
Saint Paul, MN 55120
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
@ pebtor 1 only O contingent
Oi Debtor 2 only Oo Unliquidated
OD Debtor 1 and Debtor 2 only O Disputed
D1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is fora. community C) student loans
debt C obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Wi Nno D Debts to pension or profit-sharing plans, and other similar debts
Business- dental supply bill paid by
= business
O Yes Other. Specify $43,000.00
4.2 .
7 Patterson Companies, Inc. Last 4 digits of account number 3215 _— $0.00
Nonpriority Creditor’s Name ;
1031 Mendota Heights Road When was the debt incurred? 2016
Saint Paul, MN 55120
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
8 pebtor 1 only D contingent
D Debtor 2 only D unliquidated
CO Debtor 1 and Debtor 2 only Oo Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community C student loans
debt OC obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No OD Debts to pension or profit-sharing plans, and other similar debts
Business
Equipment purchases paid by business
CD yes HM other. Specify $5 237.02
42
8 Stavros Panagoulopoulos Last 4 digits of account number $0.00
Nonpriority Creditor's Name
650 Poydras St. When was the debt incurred?
Suite 2525
New Orleans, LA 70130
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only QO Contingent
OD pebtor 2 only D unliquidated
C1 Debtor 1 and Debtor 2 only D Disputed
CO Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is for a community C) student loans
debt CZ obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
an No D1 Debts to pension or profit-sharing plans, and other similar debts
O Yes other. specify Suit notice
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Debtor1 Amy P Ferguson Case number (if known) 18-10485
142:
ig; Synchrony Bank Last 4 digits of accountnumber 5137 _ $0.00
Nonpriority Creditor's Name
Attn: Bankruptcy Dept Opened 11/23/12 Last Active
Po Box 965060 When was the debt incurred? 1/18/13
Orlando, FL 32896
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
B debtor 1 only D Contingent
D Debtor 2 only D Unliquidated
CO Debtor 1 and Debtor 2 only O Disputed
CZ Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
0 check if this claim is for a community C) student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
No D bebts to pension or profit-sharing plans, and other similar debts
O ves WH other. specify Charge Account
43
0 Synchrony Bank/ JC Penneys Last 4 digits of accountnumber 9149 $0.00
Nonpriority Creditor's Name
Attn: Bankruptcy Dept Opened 11/90 Last Active
Po Box 965060 When was the debt incurred? 08/06
Orlando, FL_32896
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
W bebtor 1 only Oo Contingent
O Debtor 2 only Oo Unliquidated
D Debtor 1 and Debtor 2 only oO Disputed
CZ Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C cheek if this claim is for a community C1 student loans
debt D Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bi No O Debts to pension or profit-sharing plans, and other similar debts
0 ves WM other. Specify Charge Account
4.3
1 Synchrony Bank/Lowes Last 4 digits of account number 7615 $0.00
Nonpriority Creditor's Name
Attn: Bankruptcy Dept Opened 9/02/12 Last Active
Po Box 965060 When was the debt incurred? 9/02/16
Orlando, FL 32896
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
BB pebtor 4 only O Contingent
C Debtor 2 only 0 unliquidated
OD Debtor 1 and Debtor 2 only C1 pisputea
D1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
DC check if this claim is for a community C1 student loans
debt O obligations arising out of a separation agreement or divorce that you did not
{s the claim subject to offset? report as priority claims
No Debts to pension or profit-sharing plans, and other similar debts
a 0
O Yes other. Specify Charge Account
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 14 of 17

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Debtor1 Amy P Ferguson Case number (if known) 18-10485
43
2 Synchrony Bank/Mervyns Last 4 digits of account number 8576 _ $0.00
Nonpriority Creditors Name
Attn: Bankruptcy Dept Opened 07/00 Last Active
Po Box 965060 When was the debt incurred? 10/27/00
Orlando, FL 32896
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
H Debtor 1 only O Contingent
C1 Debtor 2 only 0 untiquidated
OC Debtor 1 and Debtor 2 only CZ Disputed
CO At least one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 Check if this claim is for a community CJ student ioans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
B No O Debts to pension or profit-sharing plans, and other similar debts
D Yes WI other. Specify Charge Account
4.3
3 Wells Fargo Bank Last 4 digits of account number 9752 $0.00
Nonpriority Creditor's Name
Attn: Bankruptcy Dept Opened 12/04 Last Active
Po Box 6429 When was the debt incurred? 10/31/11
Greenville, SC 29606
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Debtor 1 only O Contingent
O Debtor 2 only Oo Unliquidated
TZ Debtor 1 and Debtor 2 only D1 disputed
1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 Check if this claim is for a community D1 student ioans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BNo D Debts to pension or profit-sharing plans, and other similar debts
O ves @ other. specify Real Estate Mortgage
43
4 Welis Fargo 4m Mortgag Last 4 digits of account number 9021 $0.00

 

 

Nonpriority Creditor's Name

8480 Stagecoach Cir
Frederick, MD 21701

 

Number Street City State Zip Code
Who incurred the debt? Check one.

M pebtor 1 only

CO Debtor 2 only

O Debtor 1 and Debtor 2 only

OC Atleast one of the debtors and another

oO Check if this claim is for a community
debt

Is the claim subject to offset?
Bho
D yes

Opened 04/02 Last Active
5/30/08

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

O contingent
DO Unliquidated

DQ pisputea
Type of NONPRIORITY unsecured cfaim:

CO student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

D Debts to pension or profit-sharing plans, and other similar debts

@ other. Specify Real Estate Mortgage

 

 

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Schedule E/F: Creditors Who Have Unsecured Ciaims

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Debtor 1 _Amy P Ferguson Case number (if known) 18-10485

'43 | .

is_| Whitney Bank Last 4 digits of account number 6918 _ $5,937.01
Nonpriority Creditor's Name
34830 La Hwy 16 When was the debt incurred? 11/2013
Denham Springs, LA 70706
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
@ pebtor 1 only CO Contingent
D Debtor 2 only Oo Unliquidated
DO pebtor 1 and Debtor 2 only 0 Disputed
Cat least one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 check if this claim is fora community C) student loans
debt OO Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
HE No C1 Debts to pension or profit-sharing plans, and other similar debts

__ Business line of credit converted to

O Yes MI other. Specify conventional loan

4.3 .

6 Whitney/hancockbk Last 4 digits of accountnumber 4691 $0.00
Nonpriority Creditor's Name

Opened 1/10/00 Last Active

Pob 4019 P

Gulfport, MS 39502

When was the debt incurred?

11/10

 

 

Number Street City State Zip Cade

Who incurred the debt? Check one.

@ pebtor 1 only

OD Debtor 2 only

CD Debtor 1 and Debtor 2 only

CO Atleast one of the debtors and another

0 Check if this claim is for a community
debt
Is the claim subject to offset?

Bno
D ves

As of the date you file, the claim is: Check all that apply

O contingent
D0 unliquidated

CZ Disputed
Type of NONPRIORITY unsecured claim:

DO Student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

O Debts to pension or profit-sharing plans, and other similar debts
@ other. Specify Check Credit Or Line Of Credit

 

 

 

List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
Notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Name and Address

Bank of America

PO Box 851001
Dallas, TX 75285-1001

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.6 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims

a Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address

Henry Lawrence

390 Glover Cemetary Rd
Pine Grove, LA 70453

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.4 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims

WF part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address
Huval, Veazy, Felder & Renegar,

LLC

PO Box 80948
Lafayette, LA 70598-0948

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.8 of (Check one): D Part 1: Creditors with Priority Unsecured Claims

WB part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address
Joshua Melder

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Schedule E/F: Creditors Who Have Unsecured Claims

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.13 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims

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Debtor1 Amy P Ferguson

343 3rd St.
Ste 308
Baton Rouge, LA 70801-1309

 

Last 4 digits of account number

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Case number (if known) 18-10485

 

IB part 2: Creditors with Nonpriority Unsecured Claims

 

Name and Address

Joshua Metder

9311 Bluebonnet Blvd
Ste A

Baton Rouge, LA 70810

Line 4.13 of (Check one):

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

CO Part 1: Creditors with Priority Unsecured Claims
Wf part 2: Creditors with Nonpriority Unsecured Claims

 

Name and Address

Kuehne & Foote, APLC
10839 Perkins Rd.
Baton Rouge, LA 70810

Line 4.9 of (Check one):

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

D1 Part 1: Creditors with Priority Unsecured Claims
WF part 2: Creditors with Nonpriority Unsecured Claims

 

Name and Address

Patterson Financial Services
25031 Network Place
Chicago, IL 60673-1250

Line 4.26 of (Check one):

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

D1 Part 1: Creditors with Priority Unsecured Claims
WF part 2: Creditors with Nonpriority Unsecured Claims

 

Name and Address

Stravos Panagoulopoulos
650 Poydras St

Ste 2525

New Orleans, LA 70130

Line 4.13 of (Check one):

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

DC Part 1: Creditors with Priority Unsecured Claims
WH part 2: Creditors with Nonpriority Unsecured Claims

 

Name and Address

Todd Caruso

1234 Del Este Avenue

Ste 502

Denham Springs, LA 70726

Line 4.13 of (Check one):

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

O Part 1: Creditors with Priority Unsecured Claims
WH part 2: Creditors with Nonpriority Unsecured Claims

 

Add the Amounts for Each Type of Unsecured Claim

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each

type of unsecured claim.

6a. Domestic support obligations
Total
claims
from Part 1 6b. Taxes and certain other debts you owe the government
6c. Claims for death or personal injury while you were intoxicated
6d. Other. Add all other priority unsecured claims. Write that amount here.
6e. Total Priority. Add lines 6a through 6d.
6f. Student loans
Total
. claims
from Part 2 6g. Obligations arising out of a separation agreement or divorce that

you did not report as priority claims
6h.

6i. Other. Add all other nonpriority unsecured claims. Write that amount
here.

6j. Total Nonpriority. Add lines 6f through 6i.

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Debts to pension or profit-sharing plans, and other similar debts

Schedule E/F: Creditors Who Have Unsecured Claims

 

 

 

 

 

Total Claim
6a $ 0.00
6b. § 203,353.56
6. 8 § 0.00
a 0.00
be. | § 203,353.56
Total Claim
ef. $ 27,064.00
6g. $ 0.00
ho 0.00
Si. $ 239,792.63
6. $ 266,856.63

 

 

 

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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF LOUISIANA

IN RE: AMY P. FERGUSON CASE NO: 18-10485

DEBTOR(S) CHAPTER 7 CASE

DECLARATION

(The penalty for making a false statement or concealing property is a fine up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.)

I, Jared Bourque, debtor in this case, declare under penalty of perjury that I have read the
foregoing amendment to Schedule A/B-Property, Schedule C-Property You Claimed As Exempt,
Schedule D-Creditors Who Have Claims Secured By Property, Schedule E/F-Creditors Who Have
Unsecured Claims and the Summary of Assets & Liabilities, consisting of 37. pages (including this

\
declaration), and that they are true and correct to the best of my informatior/and belief,

Dated:

    

_s/Amy P. Fergusen

Amy P. Ferguson / fap

 
